* Corpus Juris-Cyc. References: Criminal Law, 16 C.J., p. 277, n. 19.
In the circuit court of Newton county, the appellee, Jake Hilton, was indicted for the larceny of two bales of cotton of the value of one hundred fifty dollars each. At the trial of the case, when the state's testimony developed the fact that the cotton was stolen in Jasper county and carried into Newton county, the appellee filed a plea of autrefois convict. The state demurred to this plea, and, this demurrer being overruled, declined to *Page 692 
plead further, and the plea was taken as confessed, and the defendant discharged. From the order overruling this demurrer to the plea, the state has prosecuted this appeal.
The plea properly averred the former conviction of the appellee in the circuit court of the First judicial district of Jasper county for the theft of the same two bales of cotton for the stealing of which he then stood indicted and was being tried in Newton county.
It was the contention of the state in the court below that the defendant could be tried and convicted in both Jasper and Newton counties, since the cotton was stolen in Jasper county and carried into Newton county. A mere reading of the statutes covering the subject demonstrates the error of this contention. Section 1408, Code of 1906 (section 1163, Hemingway's Code), reads as follows:
"Where the property is stolen in another state or country and brought into this state, or is stolen in one county in this state and carried into another, the offender may be indicted and tried in any county into or through which the property may have passed, or where the same may be found."
Under this section, an offender may be indicted and tried for larceny in any county into or through which the stolen property may have passed, or where it may be found, but section 1409, Code of 1906 (section 1164, Heming way's Code), provides that:
"Every person charged with an offense committed in another state, territory, or country may plead a former conviction or acquittal for the same offense in such other state, territory, or country; and, if such plea be established, it shall be a bar to any further proceedings for the same offense here."
Under this section, a former conviction or acquittal for the same offense, in a court of another county having jurisdiction thereof, is a bar to further prosecution for *Page 693 
the offense. The demurrer to the plea was properly overruled, and the judgment of the court below will be affirmed.
Affirmed.